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                          UNITED STATES DISTRICT COURT
                                    FOR THE
                               DISTRICT OF MAINE


SUSAN JOHNSON, Individually and on Behalf
of her Minor Son, B.L., and on behalf of the
Estate of DERRICK THOMPSON,

       Plaintiff,                                         CIVIL NO.: 2:17-cv-00264-JDL

               v.

CITY OF BIDDEFORD, et al.,

       Defendants.


       STIPULATION OF DISMISSAL OF CLAIMS AGAINST THE MAINE
   DEPARTMENT OF PUBLIC SAFETY AND COMMISSIONER JOHN E. MORRIS

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all parties who have appeared in this action

hereby stipulate to the dismissal of all claims against defendants Maine Department of Public

Safety and Commissioner John E. Morris, with prejudice and without costs.
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DATED: August 17, 2018                             Respectfully submitted,

/s/ Christopher C. Taub                            /s/ Douglas I. Louison
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Counsel for Plaintiff Susan Johnson,
individually and on behalf of her minor son,
B.L., and on behalf of Derrick Thompson,
deceased

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this, the 17th day of August, 2018, I sent the above document by

electronic mail to the following:

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                                                     /s/ Christopher C. Taub
                                                     CHRISTOPHER C. TAUB




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